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                                                                                         CLOSED
                   U.S. District Court [LIVE]
             Western District of Texas (San Antonio)
 CRIMINAL DOCKET FOR CASE #: 5:21−mj−00370−ESC All Defendants

Case title: USA v. Quezada−Rivero                         Date Filed: 03/31/2021
                                                          Date Terminated: 04/07/2021

Assigned to: Judge Elizabeth S.
Chestney

Defendant (1)
Yosleiky Quezada−Rivero             represented by Duty Pub. Defender−San Antonio
TERMINATED: 04/07/2021                             Federal Public Defender
                                                   San Antonio Division
                                                   727 E. Cesar E. Chavez Blvd.
                                                   Suite B207
                                                   San Antonio, TX 78206
                                                   (210) 472−6700
                                                   Fax: 210/472−4454
                                                   Email: janie_craig@fd.org
                                                   TERMINATED: 04/05/2021
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

                                                  Alfredo R. Villarreal
                                                  Federal Public Defender
                                                  727 E. Cesar E. Chavez Blvd.
                                                  Room B−207
                                                  San Antonio, TX 78206−1205
                                                  (210) 472−6700
                                                  Fax: (210) 472−4454
                                                  Email: alfredo_villarreal@fd.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

Pending Counts                                    Disposition
None

Highest Offense Level (Opening)
None




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Terminated Counts                                       Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                              Disposition
8:1324.F − Bringing in and
Harboring Aliens



Plaintiff
USA                                              represented by Matthew Lathrop
                                                                United States Attorney's Office
                                                                601 NW Loop 410, Suite 600
                                                                San Antonio, TX 78216
                                                                (210) 384−7128
                                                                Fax: (210) 384−7118
                                                                Email: matthew.lathrop@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

 Date Filed      # Page Docket Text
 03/31/2021      1         Arrest (Rule 5/Rule 32.1) of Yosleiky Quezada−Rivero (aej) (Entered:
                           04/05/2021)
 03/31/2021      2      4 Minute Entry for proceedings held before Judge Elizabeth S. Chestney:Initial
                          Appearance in Rule 5(c)(3)/ Rule 32.1 Proceedings as to Yosleiky
                          Quezada−Rivero held on 3/31/2021 (Minute entry documents are not available
                          electronically.) (Court Reporter FTR Gold.) (aej) (Entered: 04/05/2021)
 03/31/2021      3         MOTION to Continue, MOTION to Detain Defendant without Bond by USA as
                           to Yosleiky Quezada−Rivero. (aej) (Entered: 04/05/2021)
 03/31/2021      4      6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Yosleiky
                          Quezada−Rivero Duty Pub. Defender−San Antonio for Yosleiky
                          Quezada−Rivero appointed. Signed by Judge Elizabeth S. Chestney. (aej)
                          (Entered: 04/05/2021)
 03/31/2021      5         ORDER as to Yosleiky Quezada−Rivero, ( Detention and Identity Hearing set for
                           4/8/2021 10:00 AM before Judge Henry J. Bemporad). Signed by Judge
                           Elizabeth S. Chestney. (aej) (Entered: 04/05/2021)
 04/05/2021      6         NOTICE OF ATTORNEY APPEARANCE: Alfredo R. Villarreal appearing for
                           Yosleiky Quezada−Rivero . Attorney Alfredo R. Villarreal added to party
                           Yosleiky Quezada−Rivero(pty:dft) (Villarreal, Alfredo) (Entered: 04/05/2021)
 04/07/2021      7      7 Waiver of Identity Hearing by Yosleiky Quezada−Rivero (Villarreal, Alfredo)
                          (Entered: 04/07/2021)

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04/07/2021   8   8 COMMITMENT TO ANOTHER DISTRICT as to Yosleiky Quezada−Rivero.
                   Defendant committed to District of SDTX − Laredo. Signed by Judge Henry J.
                   Bemporad. (aej) (Entered: 04/08/2021)




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April 7, 2021




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